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 6

 7                         UNITED STATES DISTRICT COURT
 8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                         ) Case No.: Cr.07-248-WBS
10   UNITED STATES OF AMERICA,           )
                                         )
11               Plaintiff,              ) APPLICATION AND [PROPOSED]
                                         ) ORDER TO CONTINUE SENTENCING TO
12       vs.                             ) JANUARY 13, 2014
                                         )
13   MARIO DIAZ, JR.,                    )
                                         ) Hon. William B. Shubb
14               Defendant.              )
                                         )
15

16
         This matter is before the Court on October 7, 2013 at 9:30
17

18   a.m., for sentencing.       Counsel for the defense is requesting a

19   continuance to January 13th, 2014, at 9:30 a.m. to prepare for
20
     sentencing.    Government counsel, Jason Hitt, and United States
21
     Probation Officer Dayna Ward are not opposing this request.
22
         Good cause appearing,
23
         IT IS ORDERED that this matter is to be continued from
24

25   October 7th, 2013 at 9:30 a.m., to January 13, 2014 at 9:30 a.m.

26   for Judgment and Sentencing.
27   Dated:    October 4, 2013
28




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